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6                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
7
      UNITED STATES OF AMERICA,
8
                                               NO. CR-09-0015-EFS-2
                       Plaintiff,
9
                                               FINAL ORDER OF FORFEITURE
                 v.
10

11    JONATHAN TRI DUC NGUYEN (2),

12                     Defendant.
13

14
          Before the Court, without oral argument, is the United States
15
     Attorneys’ Office’s (USAO) Motion for Entry of the Final Order of
16
     Forfeiture (ECF No. 2631).        On October 19, 2010, the Court entered an
17
     Amended Preliminary Order of Forfeiture (ECF No. 2444), pursuant to 21
18
     U.S.C. § 853, preliminarily forfeiting to the United States a 2001 GMC
19
     Yukon   Denali,   Washington    license     584    RGD,    VIN:   1GKFK66U61J213472.
20
     Defendant Jonathan Tri Duc Nguyen forfeited his interest in this property
21

22   to the United States pursuant to the Plea Agreement (ECF No. 1472) and

23   Amended Judgment (ECF No. 2600).

24        Section 853(n) and Federal Rule of Criminal Procedure 32.2 require

25   the resolution of all third-party claims to the property in a final order
26   of forfeiture.    Notice of Criminal Forfeiture was posted on an official


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1    government internet site (www.forfeiture.gov) for at least thirty (30)
2    consecutive days, beginning on October 21, 2010, and ending November 19,
3    2010, as required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for
4    Admiralty    or    Maritime     Claims    and    Asset     Forfeiture     Actions,   as
5
     incorporated by 21 U.S.C. § 853(n).              At the latest, the claim period
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     expired on December 20, 2010.        No claims have been filed.           Accordingly,
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     IT IS HEREBY ORDERED:
8
           1.    The USAO’s Motion for Entry of the Final Order of Forfeiture
9
     (ECF No. 2631) is GRANTED.
10

11         2.    The 2001 GMC Yukon Denali, Washington license 584 RGD, VIN:

12   1GKFK66U61J213472, is forfeited to the United States; no interest exists

13   in any other person.

14         3.    The United States shall dispose of this property in accordance
15   with law.
16         IT IS SO ORDERED. The District Court Executive is directed to enter
17
     this Order and to provide copies to all counsel.
18
           DATED this         19th     day of January 2011.
19

20
                                       s/Edward F. Shea
21                                     EDWARD F. SHEA
                                United States District Judge
22

23

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     ORDER ~ 2
